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 1 Monica M. Ryden (State Bar No. 023986)
   Alejandro Pérez (State Bar No. 030968)
 2 JACKSON LEWIS P.C.
 3 2111 East Highland Avenue, Suite B-250
   Phoenix, AZ 85016
 4 Telephone: (602) 714-7044
   Facsimile: (602) 714-7045
 5
   monica.ryden@jacksonlewis.com
 6 alejandro.perez@jacksonlewis.com
 7 Attorneys for Defendants
 8
 9                              UNITED STATES DISTRICT COURT
10
                                     DISTRICT OF ARIZONA
11
     John A. Sova,                             Case No.: 2:21-cv-00599-SMB
12
                   Plaintiff,
13                                                  STIPULATED MOTION TO
            v.                                      DISMISS WITH PREJUDICE
14
15   Francis A. Bijak; Premier Dist. Inc.,

16                Defendants.

17         Defendants Francis A. Bijak and Premier Dist. Inc. (“Defendants”) and Plaintiff
18 John A. Sova (“Plaintiff”) hereby stipulate and agree that this matter can and shall be
19 dismissed with prejudice, each party to bear his/its own attorneys’ fees and costs.
20         Dated: April 16, 2021.
21                                            JACKSON LEWIS P.C.
22
                                              By: /s/ Monica M. Ryden
23                                                Monica M. Ryden
                                                  Attorneys for Defendants
24
25
                                              By: /s/ John A. Sova (with permission)
26                                                John A. Sova
                                                  Plaintiff
27
28
       Case 2:21-cv-00599-SMB Document 13 Filed 04/16/21 Page 2 of 2




                                    CERTIFICATE OF SERVICE
1
              I hereby certify that on April 16, 2021, I electronically transmitted the attached
2
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
3
     Notice of Electronic Filing to the following CM/ECF registrants and by electronic mail
4
     if not registered:
5
6 John A. Sova
  319 N. 88th Place
7 Mesa, AZ 85207
8 Jsova3253@gmail.com
  Pro se Plaintiff
9
10
     By: /s/ Miranda L. Dotson
11
12   4827-9156-1701, v. 1


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